Case 1:09-cv-00799-SJJ
Case No. 1:09-cv-00799-SJJ-KLM Document
                       -KLM Document     215-7
                                     199-7       filed
                                             Filed     10/03/11USDC
                                                     09/19/11    USDC ColoradoPage
                                                                    Colorado    pg 14
                                     of 17
                                      of 11
Case 1:09-cv-00799-SJJ
Case No. 1:09-cv-00799-SJJ-KLM Document
                       -KLM Document     215-7
                                     199-7       filed
                                             Filed     10/03/11USDC
                                                     09/19/11    USDC ColoradoPage
                                                                    Colorado    pg 25
                                     of 17
                                      of 11
Case 1:09-cv-00799-SJJ
Case No. 1:09-cv-00799-SJJ-KLM Document
                       -KLM Document     215-7
                                     199-7       filed
                                             Filed     10/03/11USDC
                                                     09/19/11    USDC ColoradoPage
                                                                    Colorado    pg 36
                                     of 17
                                      of 11
Case 1:09-cv-00799-SJJ
Case No. 1:09-cv-00799-SJJ-KLM Document
                       -KLM Document     215-7
                                     199-7       filed
                                             Filed     10/03/11USDC
                                                     09/19/11    USDC ColoradoPage
                                                                    Colorado    pg 47
                                     of 17
                                      of 11
Case 1:09-cv-00799-SJJ
Case No. 1:09-cv-00799-SJJ-KLM Document
                       -KLM Document     215-7
                                     199-7       filed
                                             Filed     10/03/11USDC
                                                     09/19/11    USDC ColoradoPage
                                                                    Colorado    pg 58
                                     of 17
                                      of 11
Case 1:09-cv-00799-SJJ
Case No. 1:09-cv-00799-SJJ-KLM Document
                       -KLM Document     215-7
                                     199-7       filed
                                             Filed     10/03/11USDC
                                                     09/19/11    USDC ColoradoPage
                                                                    Colorado    pg 69
                                     of 17
                                      of 11
 Case1:09-cv-00799-SJJ
Case  No. 1:09-cv-00799-SJJ-KLM Document
                       -KLM Document 199-7215-7
                                             Filedfiled 10/03/11
                                                     09/19/11    USDC
                                                               USDC   Colorado
                                                                    Colorado   pg 10
                                                                             Page 7
                                      of 17
                                      of 11
 Case1:09-cv-00799-SJJ
Case  No. 1:09-cv-00799-SJJ-KLM Document
                       -KLM Document 199-7215-7
                                             Filedfiled 10/03/11
                                                     09/19/11    USDC
                                                               USDC   Colorado
                                                                    Colorado   pg 11
                                                                             Page 8
                                      of 17
                                      of 11
Case 1:09-cv-00799-SJJ
Case No. 1:09-cv-00799-SJJ-KLM Document
                       -KLM Document     215-7
                                     199-8       filed
                                             Filed     10/03/11USDC
                                                     09/19/11    USDC ColoradoPage
                                                                    Colorado    pg 91
                                     of 17
                                      of 11




                        EXHIBIT A.7
Case
Case No. 1:09-cv-00799-SJJ-KLM
     1:09-cv-00799-SJJ         Document
                       -KLM Document     215-7Filed
                                     199-8       filed 10/03/11 USDC
                                                     09/19/11    USDC Colorado Page
                                                                     Colorado   pg 10
                                                                                    2
                                     of 17
                                      of 11
Case
Case No. 1:09-cv-00799-SJJ-KLM
     1:09-cv-00799-SJJ         Document
                       -KLM Document     215-7Filed
                                     199-8       filed 10/03/11 USDC
                                                     09/19/11    USDC Colorado Page
                                                                     Colorado   pg 11
                                                                                    3
                                     of 17
                                      of 11
Case
Case No. 1:09-cv-00799-SJJ-KLM
     1:09-cv-00799-SJJ         Document
                       -KLM Document     215-7Filed
                                     199-8       filed 10/03/11 USDC
                                                     09/19/11    USDC Colorado Page
                                                                     Colorado   pg 12
                                                                                    4
                                     of 17
                                      of 11
Case
Case No. 1:09-cv-00799-SJJ-KLM
     1:09-cv-00799-SJJ         Document
                       -KLM Document     215-7Filed
                                     199-8       filed 10/03/11 USDC
                                                     09/19/11    USDC Colorado Page
                                                                     Colorado   pg 13
                                                                                    5
                                     of 17
                                      of 11
Case
Case No. 1:09-cv-00799-SJJ-KLM
     1:09-cv-00799-SJJ         Document
                       -KLM Document     215-7Filed
                                     199-8       filed 10/03/11 USDC
                                                     09/19/11    USDC Colorado Page
                                                                     Colorado   pg 14
                                                                                    6
                                     of 17
                                      of 11
Case
Case No. 1:09-cv-00799-SJJ-KLM
     1:09-cv-00799-SJJ         Document
                       -KLM Document     215-7Filed
                                     199-8       filed 10/03/11 USDC
                                                     09/19/11    USDC Colorado Page
                                                                     Colorado   pg 15
                                                                                    7
                                     of 17
                                      of 11
Case
Case No. 1:09-cv-00799-SJJ-KLM
     1:09-cv-00799-SJJ         Document
                       -KLM Document     215-7Filed
                                     199-8       filed 10/03/11 USDC
                                                     09/19/11    USDC Colorado Page
                                                                     Colorado   pg 16
                                                                                    8
                                     of 17
                                      of 11
Case
Case No. 1:09-cv-00799-SJJ-KLM
     1:09-cv-00799-SJJ         Document
                       -KLM Document     215-7Filed
                                     199-8       filed 10/03/11 USDC
                                                     09/19/11    USDC Colorado Page
                                                                     Colorado   pg 17
                                                                                    9
                                     of 17
                                      of 11
